


  PER CURIAM.
 

  The appellant appeals an order summarily denying a motion under Florida Rule of Criminal Procedure 3.850. On appeal from a summary denial of a facially-sufficient motion, this Court must reverse unless the postconviction record shows conclusively that the appellant is entitled to no relief.
  
   See
  
  Fla. RApp. P. 9.141(b)(2).
 

  Because the record now before us fails to make the required showing, we reverse the order and remand for further proceedings. If the trial court again enters an order summarily denying the postconviction motion, the court shall attach record excerpts conclusively showing that the appellant is entitled to no relief.
 

  REVERSED AND REMANDED for further proceedings.
 

  BENTON and BROWNING, JJ., concur; WOLF, J., dissents without opinion.
 
